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                      IN THE UNITED STATES DISTRICT COURT
                       FOR THE EASTERN DISTRICT OF TEXAS
                               SHERMAN DIVISION

VIRGINIA INNOVATION SCIENCES,                 §
INC.                                          §
                                              §    No. 4:18-cv-00474-ALM
       v.                                     §    (Lead consolidated case)
                                              §
AMAZON.COM, INC.                              §

______________________________________________________________________________

INNOVATION SCIENCES, INC.                     §
                                              §
       v.                                     §    No. 4:18-cv-00475-ALM
                                              §
RESIDEO TECHNOLOGIES, INC.                    §

______________________________________________________________________________

INNOVATION SCIENCES, INC.                     §
                                              §
                                              §    No. 4:18-cv-00476-ALM
       v.                                     §
                                              §
HTC CORPORATION                               §

______________________________________________________________________________

INNOVATION SCIENCES, INC.                     §
                                              §
       v.                                     §    No. 4:18-cv-00477-ALM
                                              §
VECTOR SECURITY, INC.                         §

______________________________________________________________________________



       JOINT MOTION TO EXTEND PROPOSED AMENDMENTS DEADLINE

       Plaintiff Innovation Sciences, Inc. (“Plaintiff”) and Defendants Amazon.com, Inc.,

Resideo Technologies, Inc., HTC Corporation and Vector Security, Inc. (collectively




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“Defendants”) file this Joint Motion to Extend the Proposed Amendments Deadline imposed in

the Court’s March 13, 2019 Order (Dkt. 79). The parties’ current deadline to submit proposed

amendments to the protective order, discovery order, or appointment of a mediator is March 27,

2019, and the parties request an extension of that deadline to April 3, 2019.

       The purpose for the extension is so that the parties can continue negotiating and refine

their agreements regarding the terms of the protective order and edits to the discovery order.

       WHEREFORE, the parties respectfully request that this Court enter an order extending

the deadline for the parties to submit proposed amendments to the protective order, discovery

order, or appointment of a mediator to April 3, 2019.




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Dated: March 26, 2019               Respectfully submitted,


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                                 CERTIFICATE OF SERVICE

       I hereby certify that on March 26, 2019, I electronically filed the foregoing document

with the Clerk of the Court using the CM/ECF system which will send notification of such filing

via electronic mail to all counsel of record.


                                                           /s/ J. Thad Heartfield
                                                           J. Thad Heartfield




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